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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF LOUISIANA

DR. DOROTHY NAIRNE, JARRETT
LOFTON, REV. CLEE EARNEST LOWE, DR.
ALICE WASHINGTON, STEVEN HARRIS,
ALEXIS CALHOUN, BLACK VOTERS
MATTER CAPACITY BUILDING
INSTITUTE, and THE LOUISIANA STATE
CONFERENCE OF THE NAACP,                               CIVIL ACTION NO. 3:22-cv-00178
                                                       SDD-SDJ
           Plaintiffs,

v.

R. KYLE ARDOIN, in his official capacity as
Secretary of State of Louisiana

           Defendant.


     PLAINTIFFS’ MEMORANDUM OF LAW IN RESPONSE TO DEFENDANT’S
       MOTION TO CONFIRM THE SCOPE OF THE COURT’S INJUNCTION

       Plaintiffs respectfully file this memorandum in response to Defendant Nancy Landry’s (the

“Secretary”) Motion to Confirm, and in the Alternative to Stay the Court’s February 8, 2024

Injunction Order, ECF No. 233, as to Senate Districts 14 and 23 (the “Motion”).

I.     INTRODUCTION

       Following a seven-day trial on the merits, this Court ruled that Plaintiffs satisfied their

burden to prove that the 2022 Louisiana House and Senate redistricting plans unlawfully diluted

the votes of Black Louisianians in specific areas of the State in violation of Section 2 of the Voting

Rights Act of 1965 (“Section 2”), 52 U.S.C. § 10301. See generally ECF No. 233. Accordingly,

this Court permanently enjoined any further elections from taking place under the statutes that

created these unlawful districts. This Court’s Order is unambiguous: “It is ORDERED that

elections under S.B. 1 and H.B. 14 be and are hereby ENJOINED.” See ECF No. 233 at 91. Despite
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this order, Intervenor-Defendant Senator Cameron Henry issued proclamations that purport to

authorize, direct, and empower the Secretary and other officials to conduct special elections for

Senate Districts 14 and 23 as early as February 15, 2025. See ECF No. 286-2. If such special

elections were to be held under S.B. 1, the Secretary would be in violation of this Court’s

injunction.

       It has now been almost a year since the Court’s February 2024 order enjoining S.B. 1 and

H.B. 14. The Legislature has taken no steps to enact remedial maps to comply with this Court’s

order, despite this Court’s May 2024 order requiring the State to “remain active in creating new

House and Senate election maps, even amidst the appeal.” ECF No. 272 at 5. As a result of the

State’s inaction, there are currently no lawful maps available for the special elections necessary to

fill Louisiana’s two empty Senate seats.

       To address this problem of Defendants’ own making, the Secretary is now asking this Court

to rewrite the plain text of its injunction to apply only to the legislative elections scheduled for

October 2027. This is not what the Court’s order says. See ECF No. 233 at 91. Moreover, the

Secretary herself has argued that this Court lacks jurisdiction to modify the scope of its own

injunction while this case is on appeal before the U.S. Court of Appeals for the Fifth Circuit. See

ECF No. 244 at 5-6 (arguing that this Court may not revisit the scope of its injunction after a notice

of appeal has been filed). This Court should enforce the injunction as written.

        Nonetheless, Plaintiffs do agree with the Secretary that the public interest strongly

supports ensuring that all voters have representation, including voters in Senate Districts 14 and

23. The upcoming vacancies in these districts reflect changed circumstances since this Court issued

the permanent injunction and set a remedial schedule culminating in an August 2025 hearing. See

ECF No. 279. Rather than allow additional elections to take place under unlawful maps, this Court




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should expedite remedial proceedings to ensure these seats are filled under a lawful remedial map.

Alternatively, if this Court is not inclined to expedite remedial proceedings, Plaintiffs ask the Court

to enter only a partial stay limited to the special elections for Senate Districts 14 and 23 identified

in Senator Henry’s December 2024 Proclamations. It would be inappropriate for the Court to grant

a general stay as to Senate District 12 and 23 or otherwise exempt these districts from the

injunction in a manner that might impact future vacancies or elections after the adoption of a

remedial map.

II.    BACKGROUND

       Plaintiffs—four individual voters in Louisiana and two organizations dedicated to

furthering the voting rights of Black Louisianians—initiated this action to challenge redistricting

plans for the Louisiana House and Senate that created districts that dilute Black Louisianians’ votes

in violation of Section 2. Following a seven-day trial on the merits beginning November 27, 2023

and ending December 5, 2023, this Court ruled that Plaintiffs had met their burden of establishing

that specific districts within S.B. 1 and H.B. 14 violate Section 2, and accordingly enjoined any

further elections under those plans. See generally ECF No. 233.

       Following this Court’s ruling on liability, Plaintiffs filed a motion for a special election and

expedited briefing schedule on February 13, 2024. See generally ECF No. 237. Days later, on

February 19, 2024, both Defendant Nancy Landry, in her official capacity as Secretary of State of

Louisiana, and the State of Louisiana filed notices of appeal from this Court’s decision. See ECF

Nos. 241-242. Legislative Intervenors Phillip DeVillier, in his capacity as Speaker of the Louisiana

House of Representatives, and Cameron Henry, in his capacity as President of the Louisiana

Senate, filed their own notice of appeal on March 6, 2024. See ECF No. 255. Defendants, including

the Secretary, subsequently opposed the motion for a special election, arguing that the filing of a

notice of appeal “divest[ed] the district court of jurisdiction over the matters appealed,” leaving it


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solely with jurisdiction “to implement or enforce” the injunction, not modify it. See ECF No. 244

at 5.

         While this Court accepted Defendants’ jurisdictional argument, see ECF No. 272 at 5, it

also specifically and correctly held that it “retains jurisdiction in that it may, and will if necessary,

enforce its Order which prohibits the State from using H.B. 14 and S.B. 1.” See id. And this Court

noted that it would “continue to require that the State remain active in creating new House and

Senate elections maps, even amidst the appeal.” See id. At a subsequent July 17, 2024 status

conference, this Court further confirmed that “it has jurisdiction to move forward with [the]

remedial phase” and set a remedial evidentiary hearing for August 25, 2025 at 9:00 A.M., along

with discovery and motions deadlines prior to the hearing. See ECF No. 279. Prior to setting this

schedule, the Court had emphasized that its evaluation of the “level of urgency” in determining

remedial maps was driven by the fact that “the next state legislative election is not until October

2027.” See ECF No. 272 at 7. However, this Court never held that its injunction only applied to

the October 2027 state legislative elections—and, indeed, such a modification would have been

inconsistent with the Court’s jurisdictional ruling. See ECF No. 272 at 5. It merely noted that, at

the time, the next scheduled state legislative elections were in October 2027.

         This is no longer the case. In the 2024 elections, Louisiana Senator Jean-Paul P. Coussan

of Senate District 23 was elected to the Public Service Commission, and Louisiana Senator Cleo

Fields of Senate District 14 was elected to represent Louisiana’s 6th Congressional District in the

U.S. House of Representatives. Senators Coussan and Fields have resigned their Louisiana Senate

seats effective December 31, 2024. See ECF No. 286-1.

         Normally, these vacancies would require the President of the Senate to “issue a

proclamation advising of the vacancy and ordering a special election to fill the vacancy” within




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ten days of the vacancy occurring, and to hold those special elections to fill those vacancies shortly

after that, on dates fixed by statute. See La. Rev. Stat. § 18:601(A)(1); La. Rev. Stat. § 18:402(E).

However, this Court’s injunction properly enjoined Defendants from holding elections under S.B.

1. See ECF No. 233 at 91. Nevertheless, on December 11, 2024—without moving to stay this

Court’s injunction or consulting Plaintiffs’ counsel—President Henry issued two Proclamations

purporting to authorize, direct, and empower the Secretary and other officials to conduct special

elections to fill the upcoming vacancies in Senate Districts 14 and 23. See ECF No. 286-2. Absent

a stay, if the Secretary were to hold these elections under S.B. 1, the Secretary would be in violation

of this Court’s injunction.

        After learning of President Henry’s Proclamations, on December 17, 2024, Plaintiffs’

counsel sent an e-mail to Defendants’ counsel regarding these developments. Plaintiffs’ counsel

reminded Defendants’ counsel that “the district court ‘ORDERED that elections under S.B. 1 and

H.B. 14 be and are hereby ENJOINED.’” Email from M. Keenan to P. Strach, et al. (Dec. 17,

2024) [attached hereto as Exhibit A] (quoting ECF No. 233 at 91). Plaintiffs’ counsel also

requested that Defendants’ counsel “[p]lease confirm, as soon as possible, whether a new State

Senate map will be implemented in time for the upcoming election.” Id. Defendants’ counsel did

not respond, meet and confer with Plaintiffs’ counsel, or otherwise request Plaintiffs’ position

regarding the present Motion prior to filing it.

III.    ARGUMENT

        A.      This Court Enjoined All State Legislative Elections Under S.B. 1 and H.B. 14.

        This Court’s injunction is unambiguous: “It is ORDERED that elections under S.B. 1 and

H.B. 14 be and are hereby ENJOINED.” See ECF No. 233 at 91. The injunction does not mention

the October 2027 legislative elections at all. On its face, the injunction applies to all state legislative

elections under S.B. 1 and H.B. 14.


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         The scope of this court’s injunction is not unusual. Take, for example, the recent Voting

Rights Act challenge involving Alabama’s congressional redistricting plan. There, the Section 2

plaintiffs resided in three of Alabama’s seven congressional districts, and they proved that one

additional majority-Black district could be drawn that would provide Black voters with an

opportunity to elect candidates of their choice. Still, the district court’s injunction, which was later

affirmed by the Supreme Court, took the same approach: it enjoined the entire plan and afforded

the State an opportunity to enact a new map. Singleton v. Merrill, 582 F. Supp. 3d 924, 935–37,

1033–34 (N.D. Ala. 2022) (three-judge court), aff’d sub nom. Allen v. Milligan, 599 U.S. 1

(2023).1 See also Baldus v. Members of Wis. Gov’t Accountability Bd., 849 F. Supp. 2d 840, 861

(E.D. Wis. 2012) (finding VRA violation in two of 99 assembly districts and enjoining

implementation of “Act 43 in its current form”).

         The Secretary cannot point to any language in this Court’s injunction limiting it to the

October 2027 legislative elections because no such language exists. Instead, the Secretary argues

that this Court’s May 3, 2024 Order clarified that its injunction applied only to the October 2027

legislative elections. See ECF No. 286 at 9 (quoting ECF No. 272 at 5). This Court’s May 3, 2024

Order did nothing of the sort. This Court stated that the permanent injunction “prohibit[ed] the

State from using H.B. 14 and S.B. 1 in the next state legislative election, which is set for October

2027.” ECF No. 272 at 5. This language merely observed that, at the time, “the next primary

election [was] set for October 2027.” See id. at 10 n.56. This is no longer the case. See ECF No.

286-2.



1 There, too, the State subsequently failed to pass maps that complied with the court’s order, and

the map that the Court ultimately imposed for Alabama’s 2024 congressional elections made
changes to only four of the seven congressional districts, not to all districts in the map. Singleton
v. Allen, No. 2:21-CV-1291-AMM, 2023 WL 6567895, at *7–9, *19 (N.D. Ala. Oct. 5, 2023).


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        Nothing in this Court’s May 3, 2024 Order suggests that the Court intended to rewrite or

restrict the scope of its earlier injunction, which on its face, applies to all state legislative elections

under S.B. 1 and H.B. 14. See ECF No. 233 at 91. Indeed, in the same Order, this Court clarified

that it lacked jurisdiction to modify the scope of its injunction while that same injunction was on

appeal. See ECF No. 272 at 4-5. This Court could not have intended to modify the scope of its

injunction while at the same time holding that it lacked jurisdiction to do so.

        The Secretary identifies no ambiguity within the injunction itself that needs clarification.

Rather, it asks this Court to rewrite the injunction more narrowly. This Court should deny that

request, particularly because this Court already held that it lacks jurisdiction to modify an

injunction after the filing of a notice of appeal.

        B.      This Court Should Expedite the Remedial Schedule to Balance the Public
                Interest in Ensuring All Voters Have Representation Against Avoiding
                Further Harm.

        While Plaintiffs oppose any modification of this Court’s existing injunction, Plaintiffs have

never suggested (and do not now suggest) that the state senate seats for Senate Districts 14 and 23

should remain vacant. The public interest strongly supports ensuring that all Louisianians have

representation in the Louisiana Senate. Accordingly, the upcoming vacancies should be filled

expeditiously, and well before the currently scheduled August 2025 remedial hearing. See ECF

No. 279. At the same time, the public interest also supports filling these vacancies under lawful

remedial maps that comply with Section 2.

        To balance these competing interests, this Court should expedite the remedial process. The

existing remedial schedule was based on the circumstances as they existed at the time the schedule

was issued. Defendants argued, and this Court accepted, that the next state legislative elections

would take place on October 2027 absent the Court’s injunction. See ECF No. 272 at 7; ECF No.

244 at 2, 15, 21 (arguing that a more expedited remedial schedule was “unnecessary . . . given that


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the next legislative elections are not until 2027”). But circumstances have changed significantly,

sharply raising the “level of urgency” for these remedial proceedings and warranting

reconsideration of this Court’s prior schedule. See ECF No. 272 at 7.

       This Court has clearly already allowed “a reasonable period of time . . . to address the

Court’s findings and implement State House and Senate election maps that comply with § 2 of the

Voting Rights Act.” See ECF No. 233 at 91. This Court afforded the Legislature significantly more

time than other courts usually permit states to enact remedial plans. See, e.g., North Carolina v.

Covington, 585 U.S. 969, 971 (2018) (state legislature given a month to enact a remedial plan);

Robinson v. Ardoin, 86 F. 4th 574, 601 (5th Cir. 2023) (two months); Thomas v. Bryant, 919 F. 3d

298, 312-13 (5th Cir. 2019) (19 days). Louisiana had until “the conclusion of the 2024 Regular

Legislative Session . . . to enact VRA-compliant State House and Senate maps” before setting the

remedial schedule. See ECF No. 272 at 10. And yet, “[n]o new redistricting plans were passed for

the House or Senate in response to this Court’s February 8, 2024, injunction.” See ECF No. 273 at

1. An expedited remedial process has become necessary to timely fill the upcoming vacancies in

the Louisiana Senate under lawful maps because the Legislature has failed to “remain active in

creating new House and Senate elections maps . . . amidst the appeal.” See ECF No. 272 at 5.

       Plaintiffs agree with Defendants that the public interest strongly supports that the voters

and residents of Senate Districts 14 and 23 should not go without representation in the Louisiana

Senate materially longer than contemplated under Louisiana law. See La. Rev. Stat. §§

18:601(A)(1), 18:402(E). Accordingly, Plaintiffs propose moving the remedial hearing—currently

scheduled for August 25, 2025—up to the week of March 3, 2025, or the Court’s earliest

convenience, to allow for remedial maps to be created on a timeline that will allow the vacancies




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to be filled under lawful maps.2 As this Court has already explained, the legislature has already

had ample time and opportunity to pass new House and Senate maps that comply with this Court’s

February 8, 2024 order. ECF No. 284 at 23:19-2.3 Counsel for Legislative Intervenors has likewise

already conceded that the Legislature “took their opportunity seriously and they could not meet

it.” ECF No. 284 at 23:6-15. Thus, Plaintiffs maintain that rescheduling the remedial hearing to

take place during the week of March 3, 2025 (following motions and discovery deadlines to be set

by this Court or the magistrate judge) is proper, feasible, and best serves the public interest.

Alternatively, if this Court is not inclined to reschedule the remedial hearing, Plaintiffs agree that

the only alternative is a partial stay of this Court’s injunction. However, a partial stay that applies

“to Senate Districts 14 and 23” generally would have the unintended effect of allowing Defendants

to hold additional state legislative elections in Senate Districts 14 and 23 under S.B. 1, in the

event that the seats become vacant again in the future, either before or after the final remedial

order. Instead, absent an expedited remedial process, a partial stay should be limited to special

elections held pursuant to Senator Henry’s December Proclamations.4




2 There is currently only an urgent need for a remedial Senate map, but this circumstance
demonstrates that it is likely there will also be a need for special elections to fill future vacated
House seats. For example, it is likely that existing House members may seek to fill the two vacant
Senate seats. Therefore, if this Court were to order an expedited remedial schedule, Plaintiffs
believe it would make sense to include a remedial process for new lawful House map and request
that the Court include both maps in any new expediated schedule for the remedial process.
3 The Fifth Circuit has held up Alabama’s post-Milligan process as an example of “an adequate

opportunity to accomplish a redistricting compliant with final judgment,” highlighting that the
court afforded the legislature six weeks following the Supreme Court’s remand. In re Landry, 83
F.4th 300, 306 (5th Cir. 2023). That six-week period was measured from the date of the Supreme
Court’s order (which affirmed the three-judge panel order that had been stayed pending the
appeal), not from the three-judge panel’s later-in-time scheduling order. Here, this Court has
afforded the legislature 47 weeks from the date of the merits order—and, indeed, 24 weeks from
this court’s order setting a remedial hearing—to pass maps that comply with this Court’s order.


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IV.     CONCLUSION

        WHEREFORE, for these reasons and any others apparent to this Court, Plaintiffs

respectfully request that this Court deny Defendants’ request to modify the scope of the existing

injunction, and that the Court grant Plaintiffs’ request to expedite the remedial proceedings so that

the new vacancies can be filled under lawful maps. Alternatively, if rescheduling the remedial

proceedings is not feasible, Plaintiffs respectfully request that this Court grant only a partial stay

of its injunction, limited to the special elections held pursuant to Senator Henry’s December 2024

Proclamations.



Dated: January 3, 2025                            Respectfully submitted,

                                                  /s/ John Adcock
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4 Even if this Court is not inclined to expedite the remedial process on a timeline that would allow

the special elections for Senate Districts 14 and 23 to be held under a remedial map, these changed
circumstances demonstrate that there is a material risk of additional vacancies in the Louisiana
Senate and House—including potential vacancies in the Louisiana House that could be caused by
Representatives potentially running for the vacant seats in Senate Districts 14 and/or 23. If the
Court denies Plaintiffs’ current request and issues a partial stay limiting its injunction, Plaintiffs
request leave to file a motion for reconsideration of the current remedial proceeding schedule to
expedite the timing. Expediting the remedial process somewhat would prevent this problem from
arising again and ensure that future vacancies will be filled under lawful remedial maps.

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                                  CERTIFICATE OF SERVICE

          I certify that on January 3, 2025, this document was filed electronically on the Court’s

electronic case filing system on behalf of all parties. Notice of the filing will be served on all

counsel of record through the Court’s system. Copies of the filing are available on the Court’s

system.

                                                   /s/ Sarah Brannon
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